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13

14
                                  UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17

18
   In re: CATHODE RAY TUBE (CRT)                    Case No. 07-5944 SC
19 ANTITRUST LITIGATION
                                                    MDL No. 1917
20
                                                    STIPULATION AND [PROPOSED]
21                                                  ORDER REGARDING INTERBOND
     This Document Relates to:                      DISCOVERY TO OCCUR AFTER
22                                                  SEPTEMBER 5, 2014
     INTERBOND ACTION
23
     Individual Case No. 3:11-cv-06275-SC
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 1                      The undersigned Defendants (collectively, “Defendants”) and Plaintiff Interbond

 2 Corporation of America (“Interbond”) have conferred by and through their counsel and, subject to

 3 the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

 4                      WHEREAS, September 5, 2014 is the deadline to complete fact discovery in the

 5 Interbond action; and

 6                      WHEREAS, in the interest of conducting discovery in an efficient and streamlined

 7 manner and avoiding the taking of unnecessary depositions, the parties have agreed not to proceed

 8 at this time with depositions of Interbond employees who are uncertain or unlikely to be called by

 9 Interbond as a witness at trial; and

10                      WHEREAS, Interbond reserves its rights to call such employees or any other

11 individuals as trial witnesses; and

12                      WHEREAS, Interbond and Defendants have conferred and agreed that, to the

13 extent Interbond identifies any individuals on its pretrial witness list whom have not been deposed

14 in this litigation, Defendants may depose those individuals before trial; and

15                      WHEREAS, Interbond and Defendants agree to negotiate and cooperate in good

16 faith with respect to the scheduling and conduct of any depositions that may occur after September

17 5, 2014 pursuant to this stipulation, consistent with the Court’s Discovery Protocol (Dkt. No.

18 1128); and

19                      WHEREAS, Defendants and Interbond have conferred and agree that Interbond

20 may make a production of documents after the September 5, 2014 close of fact discovery, but no

21 later than September 12, 2014; and

22                      WHEREAS, Defendants will therefore be unable to review and evaluate those

23 documents before the close of fact discovery;

24                      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between

25 counsel for the undersigned parties as follows:

26                      1.     To the extent Interbond identifies on its pretrial witness list any current or

27 former employee, or any other person within its power to produce as a witness, who has not

28 previously been deposed in this case, Defendants may notice and take the deposition of any such

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 1 individual before trial. However, Defendants may not seek to depose Interbond employee Lary

 2 Sinewitz in his individual capacity, who has previously appeared at deposition in this litigation

 3 pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure.

 4                      2.     Interbond will complete its outstanding document production no later than

 5 September 12, 2014. To the extent Defendants wish to file a motion to compel with respect to that

 6 production, they will do so no later than September 19, 2014.

 7                      The undersigned parties respectfully request that this stipulation be entered as an

 8 Order of the Court.

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10 PURSUANT TO STIPULATION, IT IS SO ORDERED.
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           09/05/2014
13 Dated:___________________                          ___________________________________
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14                                                             Hon. Samuel Conti




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                                                               United States District Judge
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     this document has been obtained from each of the above signatories.
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